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                             UNITED STATES BANKRUPTCY COURT

                                          DISTRICT OF IDAHO

  In re:                                             Case No. 20-40734-JMM

  DEWIT DAIRY,                                       Chapter 11

                     Debtor.


  ORDER APPROVING APPLICATION FOR ALLOWANCE OF INTERIM FEES AND

                               COSTS FOR EPIC ACCOUNTING, LLC

           The Application for Allowance of Interim Fees and Costs for Epic Accounting, LLC, (Doc

 No. 193) (“Application”), having come before the court for hearing on August 2, 2021, at 10:00

 a.m., the Court having reviewed the Application, lack of objection thereto, and the arguments of

 counsel at the hearing, and other good cause appearing therefor;

           IT IS HEREBY ORDERED AND THIS DOES ORDER; The Application is approved.

 Epic Accounting, LLC is awarded $10,440.00 for time and services rendered to Debtor as set

 forth in the Application.

           The Court’s approval of this application is made pursuant to 11 U.S.C. §331 and the

 amounts awarded for compensation and expenses are subject to reconsideration in connection with

 a final fee application in this case.

                                           DATED: August 4, 2021



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                                           JOSEPH M. MEIER
                                           CHIEF U. S. BANKRUPTCY JUDGE
 Order Submitted by: Chad R. Moody, Attorney for Debtor in Possession
